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   Case: 21-2212    Document: 00713870565           Filed: 09/01/2021   Pages: 2



   UNITED STATES COURT OF APPEALS FOR THE SEVENTH CIRCUIT


       Everett McKinley Dirksen
                                                                           Office of the Clerk
       United States Courthouse
                                                                          Phone: (312) 435-5850
    Room 2722 - 219 S. Dearborn Street
                                                                          www.ca7.uscourts.gov
         Chicago, Illinois 60604




                                                   ORDER
Submitted July 27, 2021
Decided July 27, 2021

                                                    Before

                                         ILANA DIAMOND ROVNER, Circuit Judge
                                         MICHAEL B. BRENNAN, Circuit Judge
                                         MICHAEL Y. SCUDDER, Circuit Judge

                                    UNITED STATES OF AMERICA,
                                    Plaintiff - Appellee

No. 21-2212                         v.

                                    ROBERT M. KOWALSKI,
                                    Defendant - Appellant
Originating Case Information:
District Court No: 1:19-cr-00226-1
Northern District of Illinois, Eastern Division
District Judge Virginia M. Kendall

The following are before the court:

1. MOTION TO REINSTATE BOND, filed on July 2, 2021, by pro se appellant.

2. SECOND MOTION TO AMEND FRAP 9 MEMORANDUM, filed on July 8, 2021, by pro se
appellant.

3. MOTION TO REINSTATE BOND, filed on July 20, 2021, by pro se appellant.

4. GOVERNMENT’S RESPONSE TO MOTION TO REINSTATE BOND, filed on
July 22, 2021, by counsel for appellee.
    Case: 1:19-cr-00226 Document #: 433 Filed: 09/01/21 Page 2 of 2 PageID #:3617
    Case: 21-2212    Document: 00713870565           Filed: 09/01/2021   Pages: 2


No. 21-2212                                                                                 Page 2

5. MOTION TO WITHDRAW AS COUNSEL, filed on July 22, 2021, by Attorneys John F.
Murphy and Imani Chiphe.

6. MOTION TO WITHDRAW AS COUNSEL, filed on July 22, 2021, by Attorneys John F.
Murphy and Imani Chiphe.

IT IS ORDERED that counsel's motion to withdraw is GRANTED. Attorneys John F. Murphy
and Imani Chiphe may withdraw from further representation of the appellant in this appeal, as
well as in Appeal Nos. 21-2253 and 21-2310. Appellant Robert M. Kowalski is reminded that he
will be proceeding pro se in his appeals unless he secures new counsel.

IT IS FURTHER ORDERED that the motion for release is DENIED. See Fed. R. App. P. 9(a);
18 U.S.C. § 3148. Because this is an appeal from a pretrial detention order, this order resolves
the appeal. See Fed. R. App. P. 9(a); Cir. R. 9(a).




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